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                     IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


NEW JERSEY BUILDING LABORERS ) Hon.
STATEWIDE BENEFIT FUNDS AND THE )
TRUSTEES THEREOF,               ) Civil Action No. 20-
                                )
           Petitioners,         )              CIVIL ACTION
                                )
     v.                         )          NOTICE OF MOTION
                                )              TO CONFIRM
JOHN D. LAWRENCE, INC.,         )        ARBITRATION AWARD
                                )      AND ENTRY OF JUDGMENT
           Respondent.          )


To:
       John D. Lawrence, Inc.
       279 Mount Royal Road
       Sewell, New Jersey 08080

       PLEASE TAKE NOTICE that, on September 8, 2020, at 9:00 in the forenoon, or as

soon thereafter as counsel may be heard, the undersigned attorneys for Petitioners New Jersey

Building Laborers Statewide Benefit Funds and the Trustees thereof (“Petitioners”) shall move

for an Order confirming the Arbitration Award and Entry of Judgment at the United States

Courthouse, Camden, New Jersey.

       PLEASE TAKE FURTHER NOTICE that counsel shall rely upon the attached Petition

To Confirm Arbitration Award and Entry of Judgment, Statement that No Brief is Necessary,

Proposed Form of Order, and Proposed Form of Judgment.
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       PLEASE TAKE FURTHER NOTICE that oral argument is requested only if this

application is opposed.




                                          KROLL HEINEMAN CARTON, LLC
                                          Attorneys for Petitioners

                                          S/ JENNIFER CHANG
                                    By:
                                          JENNIFER CHANG

DATED: August 13, 2020
